Case 2:04-cr-20194-.]DB Document 52 Filed 05/10/05 Page 1 of 2 Page|D 53

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"'ftc~§`"* ~ f. -. -»

IN THE UNITED STATES DISTRICT COURT

 

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Plainriff, ,,
v' * Cr. No. 04-20194-B
MARTINO MCNEAL, t
Defendant_ ,,
oRDER

 

Upon the unopposed motion of the defendant, and it appearing that said motion is Well-pled
and proper, the motion is hereby GRANTED.
The sentencing date in this matter is hereby RESET for the [6-111 day of

5 !gM z 2005 at 1150 a.m@

?-\ .
Thus ORDERED, this at day of m 0~\, 2005 at Memphis, Tennessee.
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/

on able ]. Daniel Breen
nit d StateS District Court Judge

 

 

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This notice confirms a copy of the document docketed as number 52 in
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Honorable J. Breen
US DISTRICT COURT

